         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2840
                  LT Case No. 2022-CF-763-A
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CHAUNTEL SAPP,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
Jeb T. Branham, Judge.

Jonathan E. Jordan, of Rier / Jordan, P.A., North Miami, for
Appellant.

Ashley Moody, Attorney General, and Benjamin L. Hoffman,
Assistant Attorney General, Tallahassee, for Appellee.

                        August 27, 2024

PER CURIAM.

    AFFIRMED.

LAMBERT, EISNAUGLE, and SOUD, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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